IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF TEXAS

HOUSTON DIVISION

ROBERT H. KELLY AND WIFE, §

MARY KELLY §

§

Plaintiff, §

§

VS. §
§ CIVIL ACTION NO. 4:07-cv-02671

§

D.B. INDUSTRIES, INC. §

§

Defendant. §

DEFENDANT’S NOTICE OF INITIAL DISCLOSURE

Please take notice that Defendant D.B. INDUSTRIES, INC., files this its Notice of
Compliance with Federal Rule of Civil Procedure 26. Defendant will supplement their Disclosure
if additional information and/or documents become available through discovery.

CERTIFICATION

[hereby certify that I have complied with the required Initial Disclosure. I further certify that

such disclosure is complete and correct at the time it is made according to my best knowledge,

information and belief.

Respectfully submitted,
“Tt BOGK;-MATTHEWS & LIMMER, L.L.P.
Ag

MAV1 W. CHILDS
State Bar No. 04202050

 

 

 

 
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D.B. INDUSTRIES, INC.

CERTIFICATE OF SERVICE

I hereby certify that on this the l day of pi , 2007, true and correct cop(ies) of
the foregoing instrument were forwarded to all counsel of record via electronic filing through the

Court’s Pacer System as listed below:

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